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                                           United Automobile Insurance Company
                                      9

                                     10                               UNITED STATES DISTRICT COURT
                                                                           DISTRICT OF NEVADA
                                     11
3993 Howard Hughes Pkwy, Suite 600




                                     12 UNITED AUTOMOBILE INSURANCE                           Case No.: 2:18-cv-02269-JAD-BNW
                                        COMPANY,
                                     13
                                             Plaintiff,                                       JOINT STATUS REPORT
Las Vegas, NV 89169-5996




                                     14                                                       REGARDING STAY OF DISCOVERY
                                        vs.                                                   (ECF NO. 56)
                                     15
                                        THOMAS CHRISTENSEN, an individual; E.
                                     16 BREEN ARNTZ, an individual; and GARY
                                        LEWIS, an individual,
                                     17
                                             Defendants.
                                     18

                                     19          Thomas Christensen, E. Breen Arntz, Gary Lewis (“Defendants”) and United Automobile
                                     20 Insurance Company (“Plaintiff”) hereby submit this Joint Status Report Regarding Stay of

                                     21 Discovery [ECF No. 56].

                                     22          On June 26, 2020, Plaintiff and Defendants submitted to the Court a Joint Status Report
                                     23 Regarding Stay of Discovery pursuant to ECF No. 40. The Parties asked for another 90 day stay

                                     24 of proceedings while several associated actions remained pending with other courts considering

                                     25 matters that may affect this case. The parties asked that the next status report be due on September

                                     26 26, 2020.

                                     27          On August 7, 2020, Judge Dorsey issued an order indicating she had reconsidered the
                                     28 Defendants’ Motion to Dismiss, but reached the same conclusion, denying the underlying Motion

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                                     1    to Dismiss. [ECF No. 55]. On August 11, 2020, Magistrate Weksler signed the June 26, 2020
                                     2    Joint Status Report, but inserted a sentence indicating the next Joint Status Report would be due
                                     3    on August 26, 2020, instead of September 26, 2020. [ECF No. 56]. Then, on August 25, 2020,
                                     4    it appears ECF No. 56 was filed by the Court with a notation, “modified signing”.
                                     5           After a meet and confer held on August 25, 2020 between counsel Chris Jorgensen and
                                     6    James Whitmire, the parties asked for an additional 10 days to file the next Joint Status Report.
                                     7    [ECF No. 57]. The purpose of the request was not for delay, but rather for the parties to meet
                                     8    again and determine if the original reasons for seeking a stay of this case still remain.
                                     9           In the interim 10 days,
                                     10   1.     On August 26, 2020, Plaintiff Cheyenne Nalder filed an appeal to the Nevada Supreme
                                     11   Court from the State Court order denying her motion for attorneys’ fees in case 07-A-549111,
3993 Howard Hughes Pkwy, Suite 600




                                     12   where UAIG is the Intervenor. [Case No. 81710].
                                     13   2.     On September 2, 2020, Mr. Christensen’ client Gary Lewis filed a Motion for Relief
Las Vegas, NV 89169-5996




                                     14   Pursuant to FRCP 60(b) in federal case 2:09-cv-1348. [ECF 146 in case 09-cv-1348]; and
                                     15   3.     On September 3, 2020, Mr. Christensen filed a Notice of Appeal to the Ninth Circuit
                                     16   Court, from this Court’s order in this case, denying Mr. Christensen’s Special Motion to Dismiss
                                     17   [ECF No. 32], and the subsequent ruling in Mr. Christensen’s Motion for Reconsideration of
                                     18   Order Denying the Special Motion to Dismiss. [ECF No. 55]
                                     19          As a result of the above recent filings, and specifically due to the appeal of two orders in
                                     20   this specific case, the parties believe the current stay of proceedings should remain in effect for
                                     21   the next 90 days from today’s date (i.e., December 2, 2020), while this case and its associated
                                     22   cases, continue to evolve.
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                                             Case 2:18-cv-02269-JAD-BNW Document 62 Filed 09/25/20 Page 3 of 3



                                     1    DATED this 10th day of September, 2020.          DATED this 10th day of September, 2020.
                                     2    WINNER & SHERROD                                 LEWIS ROCA ROTHGERBER
                                                                                           CHRISTIE LLP
                                     3    By: /s/ Matthew J. Douglas
                                          Matthew John Douglas                             By: /s/ J Christopher Jorgensen
                                     4    Thomas E. Winner                                 Daniel F. Polsenberg (# 2376)
                                          1117 South Rancho Drive                          J Christopher Jorgensen (# 5382)
                                     5    Las Vegas, Nevada 89102                          Abraham Smith (# 13250)
                                                                                           3993 Howard Hughes Pkwy, Suite 600
                                     6    Attorneys for Plaintiff                          Las Vegas, NV 89169
                                     7                                                     Co-Counsel for Plaintiff United
                                          DATED this 10th day of September, 2020.          Automobile Insurance Company
                                     8
                                          SANTORO WHITMIRE
                                     9                                                     DATED this 10th day of September, 2020.
                                          By: /s/ James E. Whitmire
                                     10   James E. Whitmire (#6533)                        MARQUIS AURBACH COFFING
                                          10100 W. Charleston Blvd., Suite 250
                                     11   Las Vegas, Nevada 89135                          By: /s/ Brian R. Hardy
                                                                                           Terry A. Coffing (#4949)
3993 Howard Hughes Pkwy, Suite 600




                                     12   Attorneys for Defendant Thomas Christensen       Brian R. Hardy (#10068)
                                                                                           10001 Park Run Drive
                                     13                                                    Las Vegas, Nevada 89145
                                          DATED this 10th day of September, 2020.
Las Vegas, NV 89169-5996




                                     14                                                    Attorneys for Defendant E. Breen Arntz
                                           LIPSON NEILSON P.C.
                                     15
                                           By: /s/Janeen V. Issacson
                                     16    Janeen V. Isaacson
                                           9900 Covington Cross Drive, Suite
                                     17    120 Las Vegas, Nevada 89144
                                                                                 The parties' stipulation is GRANTED. Further,
                                     18    Attorneys for Defendant Gary Lewis    IT IS ORDERED that the parties must file a
                                                                                 joint status report on 12/3/2020 regarding the
                                     19                                          development of this case and other related
                                     20                                          cases.
                                                                                 IT IS SO ORDERED:
                                     21

                                     22                                          __________________________________
                                                                                 UNITED STATES MAGISTRATE/DISTRICT
                                     23                                          COURT JUDGE
                                     24                                                   September 25, 2020
                                                                                 DATED: ____________________________
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